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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TENNESSEE
                            EASTERN DIVISION - JACKSON
SYLVESTER COLE                                )
                                              )
         Plaintiff,                           )
v.                                            )   Docket No. 1:15-CV-01268
                                              )   JURY DEMAND
ALLSTATE INDEMNITY COMPANY and                )
ALLSTATE INSURANCE COMPANY,                   )
                                              )
         Defendants.                          )


 STIPULATION BY THE PARTIES OF SETTLEMENT OF CASE AND FOR CASE TO
                    BE DISMISSED WITH PREJUDICE

         The parties, as evidenced by the signatures of their counsel below, stipulate this

case has been fully settled and compromised and the Court should enter an Order

dismissing the plaintiff’s case, including all claims for bad-faith and punitive damages,

with prejudice to the refiling of same.


APPROVED FOR ENTRY:



__/s/ Gary A. Brewer______________
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of February, 2016, a copy of the foregoing
Stipulation by the Parties of Settlement of Case and for Case to be Dismissed with
Prejudice was filed electronically. Notice of this filing will be sent by operation of the
Court’s electronic filing system to all parties indicated on the electronic filing receipt. All
other parties will be served by regular U.S. Mail. Parties may access this filing through
the Court’s electronic filing system.


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                                                   __/s/ Gary A. Brewer_______________
                                                   GARY A. BREWER




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